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                        UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                            FORT LAUDERDALE DIVISION

In re:

GENEREX BIOTECHNOLOGY CORP,                      Case No.: 22-13166-BKC-PDR
                                                 Chapter 7
     Debtor.
___________________________                /

        TRUSTEE’S EX-PARTE APPLICATION FOR EMPLOYMENT OF
   BARRY E. MUKAMAL, CPA AND KAPILAMUKAMAL, LLP AS ACCOUNTANTS
                   EFFECTIVE SEPTEMBER 13, 2022

         Marc P. Barmat, as Trustee for the estate of the above-captioned Debtor (the

"Trustee"), applies (the “Application”) on an ex parte basis pursuant to 11 U.S.C § 327(a),

Rule 2014(a), Fed.R.Bank.P. 2014 and Fed.R.Bankr.P. 2016, and Local Rule 9013-

1(c)(d), for authorization and approval of the employment of Barry E. Mukamal, CPA

(“Mukamal”) and the accounting firm of KapilaMukamal, LLP Certified Public Accountants

(collectively "KM") as accountants for the Trustee effective September 13, 2022, and

respectfully represents:

         1.   The undersigned is the duly appointed, qualified and acting Trustee in this

case.

         2.   In order for the Trustee to properly discharge his duties in this case, it is

essential that he employ accountants to assist him in tax compliance filings and other

financial matters. The Trustee has selected KM because of its extensive experience and

expertise in bankruptcy and related matters.

         3.   Barry E. Mukamal, CPA and Soneet Kapila, CPA are both partners of the firm

KapilaMukamal, LLP (“KM”) and both serve as members of the Chapter 7 Panel of

Trustee’s in the Southern District of Florida. Soneet R. Kapila is also in the pool of the



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Sub Chapter V Trustees.

         4.   The Trustee seeks to employ KM to render the following professional services

to the Trustee:

              (a) review of all financial information prepared by the Debtor or its

accountants, including but not limited to a review of the Debtor's financial information as

of the date of the filing of the petition, its assets and liabilities, and its secured and

unsecured creditors;

              (b) review and analysis of the organizational structure of and financial

interrelationships among the Debtor and its affiliates and insiders, including a review of

the books of such companies or persons as may be requested;

              (c) review and analysis of transfers to and from the Debtor to third parties,

both pre-petition and post-petition;

              (d) attendance at meetings with the Debtor, its creditors, the attorneys of

such parties, and with federal, state, and local tax authorities, if requested;

              (e) review of the books and records of the Debtor for potential preference

payments, fraudulent transfers, or any other matters that the Trustee may request;

              (f)   the rendering of such other assistance in the nature of accounting

services, financial consulting, valuation issues, or other financial projects as the Trustee

may deem necessary.

              (g) preparation of estate tax returns.

              (h) review of the Debtor's net operating losses and the Estate's ability to

monetize same.

         5.   KM neither holds nor represents any interest adverse to the estate in the




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matters upon which it is to be employed, is a "disinterested person" as that term is defined

by 11 U.S.C. § 101(14) and § 327(a) and (d), and its employment would be in the best

interest of the estate and its creditors. An affidavit in support of this application is attached

hereto as Exhibit A.

         6.   KM has agreed to perform the foregoing services at the ordinary and usual

hourly billing rates of its members who will perform services in this matter. KM will incur

out-of-pocket disbursements in the rendition of the services for which it shall seek

reimbursement.      KM recognizes that its compensation is subject to approval and

adjustment by the Court in accordance with 11 U.S.C. § 330.

         7.    In an abundance of caution and in the interests of full disclosure, the Trustee

and KM make the following additional disclosures: (a) the Trustee, Marc P. Barmat, in his

capacity as an attorney, has in the past, and will likely in the future, represent both Kapila

and Mukamal in their capacity as trustees of unrelated bankruptcy estates; (b) the

Trustee’s general counsel in this case, Eyal Berger, Esq. and Akerman LLP has in the

past, and will likely in the future, represent both Kapila and Mukamal in their capacity as

trustees of unrelated bankruptcy estates; (c) the law firm in which the Trustee is a partner,

Furr Cohen has in the past, and will likely in the future, represent both Kapila and

Mukamal in their capacity as trustees of unrelated bankruptcy estates, (d) Marc P.

Barmat, Esq. and Furr Cohen have in the past, and will likely in the future, represent

parties whose interests are adverse to those of Kapila and/or Mukamal in their capacity

as trustees of unrelated bankruptcy estates; (e) Eyal Berger, Esq. and Akerman LLP have

in the past, and will likely in the future, represent parties in unrelated cases who will retain

KM as accountants and/or experts in unrelated cases; and (f) Marc P. Barmat, Esq. and




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Furr Cohen capacity as trustee of unrelated bankruptcy estates, has in the past, and will

likely in the future, retain KM as accountants and/or experts in unrelated cases. The

Trustee and KM assert that none of the above disclosures impair KM’s ability to serve as

accountant to the Trustee and the Estate.

         8.    KM is otherwise well-qualified to serve as accountants for the Trustee for

the purpose required. KM has been retained as accountants and financial consultants to

render professional services to trustees, debtors, creditors, creditors' committees, and

others in numerous bankruptcy matters. Barry E. Mukamal is also a CIRA (Certified

Insolvency & Restructuring Advisor), CFE, (a Certified Fraud Examiner) and CFF

(Certified in Financial Forensics). He is also Accredited in Business Valuation (ABV) and

a Personal Financial Specialist (PFS). Soneet R. Kapila is a CPA, CIRA, CFE and CFF.

         WHEREFORE, the Trustee respectfully requests that this Court enter an order

approving the selection and employment by the Trustee of Barry E. Mukamal, CPA and

KapilaMukamal LLP as his accountants to perform the services set forth in this

Application, upon the terms and conditions set forth herein.

Dated: September 29, 2022                Respectfully submitted,

                                         By: /s/ Eyal Berger
                                         Eyal Berger, Esq.
                                         Florida Bar No. 011069
                                         eyal.berger@akerman.com
                                         Amanda Klopp, Esq.
                                         Florida Bar No. 124156
                                         amanda.klopp@akerman.com
                                         AKERMAN LLP
                                         201 East Las Olas Blvd., Suite 1800
                                         Fort Lauderdale, FL 33301-2999
                                         Tel: 954-463-2700
                                         Fax: 954-463-2224

                                         Counsel for Marc P. Barmat, Chapter 7 Trustee



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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on September 29, 2022, I electronically filed the

foregoing document with the Clerk of the Court using CM/ECF. I also certify that the

foregoing document is being served on this day by transmission of Notices of Electronic

Filing generated by CM/ECF to those parties registered to receive electronic notices of

filing in this case as reflected in the below service list.


                                            /s/ Eyal Berger
                                            Eyal Berger, Esq.



SERVICE LIST

22-13166-PDR Notice will be electronically mailed to:

Marc P Barmat
barmat.trustee@furrcohen.com, mpb@trustesolutions.net

Eyal Berger, Esq. on behalf of Trustee Marc P Barmat
eyal.berger@akerman.com, jeanette.martinezgoldberg@akerman.com

Mark D. Hildreth, Esq on behalf of Creditor AVEM Medical, L.L.C., f/k/a MediSource Partners, LLC
mhildreth@shumaker.com, skerrigan@shumaker.com

Mark D. Hildreth, Esq on behalf of Creditor Pantheon Medical - Foot & Ankle, LLC
mhildreth@shumaker.com, skerrigan@shumaker.com

Mark D. Hildreth, Esq on behalf of Creditor Travis Bird
mhildreth@shumaker.com, skerrigan@shumaker.com

Zachary P Hyman on behalf of Petitioning Creditor Three Brothers Trading, LLC d/b/a Alternative
Execution Group
zach@millenniallaw.com,
jessica@millenniallaw.com;assistant@millenniallaw.com;millenniallawforms@gmail.com

Amanda Klopp on behalf of Trustee Marc P Barmat
amanda.klopp@akerman.com, jeanette.martinezgoldberg@akerman.com

Office of the US Trustee
USTPRegion21.MM.ECF@usdoj.gov




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               Exhibit B
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                        UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                            FORT LAUDERDALE DIVISION

In re:

GENEREX BIOTECHNOLOGY CORP,                     Case No.: 22-13166-BKC-PDR
                                                Chapter 7

     Debtor.
_______________________________/

 ORDER APPROVING TRUSTEE’S EX-PARTE APPLICATION FOR EMPLOYMENT
 OF BARRY E. MUKAMAL, CPA AND KAPILAMUKAMAL, LLP AS ACCOUNTANTS
                   EFFECTIVE SEPTEMBER 13, 2022

         This matter came before the Court upon the Trustee’s Ex-Parte Application for

Employment of Barry E. Mukamal, CPA and KapilaMukamal, LLP as Accountants

effective September 13, 2022 (the “Application) [ECF # ___ ]. The Court having reviewed

the Application and having found the Court being satisfied that (i) Barry E. Mukamal and

KapilaMukamal, LLP (collectively, “KM”) is duly qualified to act as accountants to the

Trustee in this case; (ii) Barry Mukamal’s Affidavit of Proposed Accountant for Trustee



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(attached to the Application) [the “Affidavit”] makes relevant disclosures demonstrating

that Barry E. Mukamal and KM are disinterested and hold or possess no interest adverse

to the Estate in the matters upon which it is to be engaged, that its employment is

necessary and would be in the best interest of this Estate, that the said case justifies an

accountant for the purposes specified, and that no Notice of Hearing on said Application

should be given, and no adverse interest being represented,

       Accordingly, it is

         ORDERED AND ADJUDGED that said Application is APPROVED.

         1.   Marc P. Barmat, Trustee is authorized to employ and retain Barry E. Mukamal

and KapilaMukamal, LLP to prepare and file tax returns; to prepare tax projections and

tax analysis; to represent the trustee as to other tax compliance matters, including dealing

with the tax authorities, as deemed necessary; to serve as Trustee's general accountant

and to consult with the trustee and his counsel as to those matters for this estate at a fee

subject to court approval.

         2.   That KM be empowered to act, through its officers and employees, for and on

behalf of the trustee and/or the estate, to represent them before any taxing authority

including the Internal Revenue Service and the Florida Department of Revenue, to

receive confidential information, to make written or oral presentations of fact or argument,

and to perform any and all acts on behalf of the trustee and the estate which the trustee

is by law permitted, regarding any tax matter which may arise during the administration

of the estate.

         3.   That this Court reserves jurisdiction over the parties and the subject matter as

to all aspects of the retention approved herein.




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                                           ###

Submitted by:

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Fort Lauderdale, FL 33301-2999
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Attorney Berger is directed to serve a conformed copy of this order on all interested
parties.




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